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             IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ERIC HARRIS, Individually and on
behalf of all Others similarly
situated,

Plaintiff,
                                            Case No:
                                            216(b) Collective Action
v.

NCR CORPORATION, a foreign
for profit Corporation,

Defendant.


COLLECTIVE ACTION COMPLAINT FOR VIOLATIONS OF THE
OVERTIME WAGE SECTION OF THE FAIR LABOR STANDARDS
                    ACT (FLSA)


       Plaintiff, ERIC HARRIS, individually and on behalf of all other

similarly situated persons employed as inside sales representatives (“ISR”)

from the period of three years preceding the filing of this complaint through

the date of trial who consent to their inclusion in this collective action herein

sue Defendant NCR Corporation, (hereinafter referred to as “NCR”, or

Defendant), pursuant to 29 U.S.C. § 216(b), of the Fair Labor Standards Act




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(the "FLSA") and states as follows:

                         RECITATION OF FACTS

      1.     Plaintiff Harris and the class of similarly situated current and

former insides sales employees (ISR) all worked for Defendant under job

titles including:   Inside Sales Representative (I, II or III) (BDR), Sales

Development Representative (SDR) or Account Manager (AM), Account

Executive (AE), Sales Consultant, and other various job titles used to

describe persons who performed substantially the same requirements of an

inside sales representative (“ISR”), all worked at Defendant’s physical

offices, or worked remotely and their work was directed from Defendant's

multiple offices across the United States.

      2.       The ISR’s primary function was to use telecommunications

such as telephones, email and technology to solicit businesses to purchase

NCR’s equipment and services (hardware and software), and later

subscription services for Defendant’s software and cloud services and to

complete the full sales cycle of closing deals and signing up customers on

written sales orders or agreements.

      3.     In addition, NCR employed numerous ISR in the role of



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business     development    employees,    titled   as   Sales   Development

Representatives (SDR) whose job it was to primarily develop warm business

leads by soliciting businesses to attend appointments with Account

Executives who then would attempt to negotiate and close sales or deals

with them.

      4.      Plaintiff Harris, and the putative class of similarly situated

employees were not compensated for all hours worked over 40 in each and

every work week, and were permitted by NCR to knowingly suffer to work

off the clock in violation of the FLSA.

      5.      Further, even when Defendant did pay a premium for some

overtime hours worked on the rare occasions they requested the overtime

hours and had ever agreed to pay for the overtime hours, NCR willfully

underpaid ISR by failing to include the value of earned bonuses and

commissions in the calculation of overtime as required by the FLSA, strictly

paying them premiums based solely upon their base pay.

      6.      Defendant NCR has improperly and willfully withheld and

refused to pay Plaintiff and all ISRs overtime wages and premiums for

overtime hours worked and in violation of federal law.           Defendant’s



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employment and payroll records will demonstrably show that Plaintiff, and

all ISRs were non-exempt employees such that Defendant cannot now and

should not be able to claim any exemption to overtime pay, and that

Defendants knew that their failure to pay overtime wages to ISR was a

willful violation of the FLSA.

      7.      At minimum, Defendant acted with reckless disregard for its

obligations to pay ISR overtime premiums for all hours worked, and failed

to accurately track and record ISR’s work hours pursuant to federal

regulation 29 C.F.R. § 516.

      8.    Defendant knows that ISR fail the short test for the executive

exemption since they do not supervise two or more full time employees, and

their primary job duties are non-exempt sales duties and not management of

the business or enterprise nor any department of Defendant.

      9.    Furthermore, as Plaintiff and all other ISR were paid on an

hourly basis, they also cannot be declared exempt from overtime pay under

the Executive or administrative or highly compensated exemptions.

      10.   Alternatively, Plaintiff and all others similarly situated were

classified as salaried, non-exempt employees.



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      11.    Defendant knew or should have known that ISRs do not meet

the administrative exemption, as their primary job duty does not in involve

the use of discretion and independent judgment in matters of significance

affecting the company and its management; and that their primary job duty is

production and sales, typically non-exempt under the FLSA and as

concluded by the DOL regulations and the DOL field operations handbook.

      12.    Defendant has a comprehensive lead generation system such

that inside sales representatives do not have to solely rely upon their own

contacts and sources to generate sales.

      13.    Defendant absolutely knows that its inside sales representatives

(ISR) routinely worked overtime hours, as managers and supervisors

witnessed the extra hours, managers and company officials saw and knew

that ISR were accessing telephone systems, CRM databases, emails, and

engaged in computer demonstrations outside the standardized mandatory

corporate schedule.

      14.    Defendant also knew that ISR performed work in the evenings

and on weekends and even managers communicated with ISR about work

outside the regular business hours and when ISR were off the clock or



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should have been.

      15.    Defendant dangled carrots for ISR to advance by publishing

and comparing sales production praising the top performers while

denigrating the lower performers such that ISRs were pressured to work

extra hours to hit sales goals, quotas and avoid termination.

      16.    Further, Defendant willfully discouraged ISRs from reporting

overtime hours by both misleading Plaintiffs to believe that since overtime

was not pre-approved they could permit the Plaintiffs to then work overtime

hours and not report these hours and that they were neither entitled to the

overtime pay or that their pay practices and policies were lawful, when in

fact they were not.

      17.    Defendant has willfully failed to pay Plaintiff and all similarly

situated employees in accordance with the Fair Labor Standards Act

(FLSA). Specifically, Plaintiff and similarly situated employees were not

paid premium pay (aka overtime wages) for all hours worked in excess of

forty (40) hours per week.       Plaintiff Harris, and the class of similarly

situated employees did not and currently do not perform work that meets the

definition of any exemption under the FLSA, and the Defendant’s pay



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practices are not only unfair, but blatantly unlawful under the FLSA.

      18.    In this pleading, the term “Inside Sales Representative” means

any employee of Defendant working under the various titles of: Inside Sales

Representative (I, II or III) (BDR), Sales Development Representative

(SDR) or Account Manager (AM), Account Executive (AE) Sales

Consultant, or other various job titles of employees who performed

substantially the same job of an inside sales representative (“ISR”) working

at Defendant's offices in the United States or working remotely and reporting

to Defendant's offices or whose work was controlled from any of its US

offices.

      19.    Inside Sales representatives in this class make predominantly

spend their days making outbound (cold calls), and some inbound phone

calls, email solicitations, researching the internet and either making internet

presentations or demonstrations and consummate sales of new products or

cloud applications, the sale of software and hardware or credit card

processing services for business customers or clients of Defendant, including

many restaurants and hotels in the hospitality industry.

      20.    The allegations in this pleading are made without any



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admission that, as to any particular allegation, Plaintiff bears the burden of

pleading, proof, or persuasion. Plaintiff reserves all rights to plead in the

alternative.


                            Jurisdiction & Venue


      21.      This Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §1331, because this action involves a federal question

pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216 (b).

      22.      This Court is empowered to issue a declaratory judgment under

28 U.S.C.§§ 2201 and 2202.

      23.      This Court has personal jurisdiction over the Defendant,

because the Defendant operates substantial business in Atlanta, Fulton

County, Georgia and the damages at issue occurred within this District,

where Defendant maintained an office throughout the relevant time period.

      24.      Venue is proper to this Court pursuant to 28 U.S.C. Sec.

1391(b) because the Defendant resides in this district and because a

substantial part of the events giving rise to the claims occurred in this

District as Plaintiff was hired from, supervised from and his work was



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directed by officers and managers from their principal place of business and

corporate office located at 864 Spring Street NW, Atlanta, GA, 30308.

      25.   The overtime wage provisions set forth in FLSA §207 apply to

Defendant, as NCR engaged in interstate commerce under the definition of

the FLSA. Indeed, at all relevant times, Defendants engaged in interstate

commerce and/or in the production of goods for commerce within the

meaning of FLSA Sec. 203 as a common business enterprise. Additionally,

Defendants earned more than $500,000 in revenue during the years 2019 to

2021 as well.


                               The Parties

Representative Plaintiff, Eric Harris

      26.   Eric Harris resides in Stone Mountain, Georgia. He was first

hired to work for Defendant as an Inside Sales Representative in April 2019

to work in Defendant's corporate office and principal place of business in

Atlanta, Georgia until he was laid off due to financial changes by NCR on or

about February 11, 2022.

      27.   At all times material, Plaintiff worked as an ISR from the

Defendant’s Atlanta, Georgia corporate office. Plaintiff’s work was highly


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supervised, micro-managed, and scrutinized on a daily basis by management

in Atlanta, Georgia, from the Atlanta office located at 864 Spring Street NW,

Atlanta, GA, 30308.

      28.    In March 2020, due to the Covid-19 Pandemic, NCR closed the

office and all ISR were sent to work remotely from their homes up through

the present day, although they still reported to managers and offices

affiliated with or working from the Atlanta office.

      29.    Plaintiff was switched to a SDR at one point during his

employment, a position which still primarily involved performing

substantially same job requirements and duties of a             ISR, soliciting

businesses by email and phone calls to facilitate the sale of Defendant's

products, services, including software, hardware and financial credit card

processing services.

      30.    Regardless of the job title, the primary duties and

responsibilities were essentially unchanged and no written job description

was provided to Plaintiff for the SDR.

      31.    Plaintiff, like all other ISR, was required to meet certain metrics

which gauged his performance and determined whether he would continue



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to have a job. These metrics included making a setting a specific number of

appointments for customers to meet with Accounts Executives in attempts to

finalize and close a sale of products or services. At other times working in

full cycle sales ISR positions, Plaintiff had sales quotas and was expected to

sell upwards of 8 or 9 customers or $90,000 to $100,000 in revenues for the

month.

      32.    According to the NCR offer letter to Harris, he was provided a

base salary of $50,000 plus a percentage to goal bonus or commission plan

stated as total target cash with a target cash incentive of $29,428.57. Thus,

as the compensation plan is laid out, Harris, like all other ISR could earn a

total sum in cash or gross compensation of 100%, with some percentage

being the base pay and some percentage of sales bonus or commission set at

a maximum amount by NCR.

      33.    The commission or bonus component is paid out on a

percentage to this target cash goal such that if Harris and any ISR hit 100%

of the sales quota they We would earn the target cash incentive maximum

sum stated, and if they hit 50% of the sales quota, they would only be paid

50% of this target cash bonus or commission.



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The Defendant

      34.    NCR Corp (formerly known as National Cash Register) is a for

profit publicly traded Delaware company (symbol NCR) and an S & P 400

international corporation with world headquarters located at 864 Spring St

NW, Atlanta, GA 30308. Defendant may be served through its designated

registered agent: Corporation Service Company: 2 SUN COURT, SUITE

400, PEACHTREE CORNERS, GA, 30092.

      35.    NCR is an American software, managed and professional

services, consulting and technology company. It manufactures self-service

kiosks, point-of-sale terminals, automated teller machines, check processing

systems, and barcode scanners.

      36.    NCR declares on its website that it is the world’s enterprise

technology leader for restaurants, retailers and banks. The #1 global POS

software provider for retail and hospitality, and the #1 provider of

multi-vendor ATM software, we create software, hardware and services that

run the enterprise from back office to the front end and everything in

between for our clients.

      37.    NCR employs 34,000 employees in 160 countries and solutions


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distributed in 141 countries, and has approximately 40 offices throughout the

US including in the following 18 states:     Arkansas, California, Colorado,

Florida, Georgia, Illinois, Indiana, Maryland, Michigan, Pennsylvania,

Massachusetts, Nebraska, New Hampshire, New Jersey, Ohio, South

Carolina, Texas, Washington,

      38.     Upon information and belief and research, Defendant NCR

employs inside sales employees (ISR) throughout the U.S. either working

remotely or working from numerous offices, all of whom ultimately report to

executives in the corporate office in Atlanta, Georgia.

      39.    Inside Sales representatives (ISR) primarily worked from

physical offices, including Atlanta, Georgia, but upon information and

belief, as of the Covid-19 pandemic, all currently employed ISR have

primarily been reassigned and recruited to work remotely.

      40.    Defendant NCR is an employer within the definition of the

FLSA, as it has revenues exceeding $500,000 annually in all applicable time

periods, is involved in interstate commerce, and employs thousands of

employees across the U.S.

      41.    Given turnover, Plaintiff estimates that the putative class of



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similarly situated inside sales representatives to be in the range of 1500

persons who worked as ISR within the preceding 3 years from the filing of

this complaint, including 100 alone at any given time working at or reporting

to the Atlanta, Georgia NCR corporate office.

      42.   NCR was Plaintiff’s employer within the meaning of 29 U.S.C.

§ 203(d).


                    General Collective Action Allegations

      43.   This collective action arises from an ongoing, longstanding,

wrongful scheme by Defendant to willfully underpay and refuse to pay

overtime wages to a large class of workers, the inside sales representatives

(ISR), who Defendant knew, and knows still up through the filing of this

complaint, routinely worked overtime hours without being paid for all hours

worked.

      44.   Defendant’s unlawful pay practice applicable to all inside sales

representatives permitting non-exempt employees to suffer to work overtime

hours without being paid a premium through a De Facto unwritten policy or

De Facto Rule which was to work as many overtime hours as the ISR could

or needed to hit goals, keep their jobs while self-reporting no more than 40


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hours per week and no more than 8 hours per day.

      45.    Management clearly and without dispute “turned a blind eye” to

the off the clock overtime hours worked by the inside sales reps, and did so

for greed and to save many millions of dollars in labor costs and decrease

expenses, all to the detriment of its inside sales representatives.

      46.    Defendant no doubt made a calculated, willful decision to

refuse to pay overtime wages under the risk that even if someone or many

eventually made a claim for overtime wages, they would have benefited

financially from the additional work hours in terms of increased sales, and

the fact that the statute of limitations would run on claims before many

would even assert their rights under the FLSA.

      47.    As is often stated by Courts in similar FLSA overtime wage

cases over the last 70 years, this is the classic case of permitting employees

to “suffer to work” off the clock, as doing so is unfair and not being paid a

fair wage for a fair day’s work as the FLSA mandates and for which it was

created.

      48.    Despite being an international, publicly traded corporation, with

employees throughout the United State of America, including numerous



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attorney’s and general counsel relationships, and having operated in the US

and subject to the requirements of the FLSA for perhaps decades, Defendant

has blatantly, and willfully violated the FLSA by: a) willfully refusing to

pay overtime wages when they knew and were aware of employees working

overtime hours; b) willfully permitting ISR, who Defendant knew or should

have known were non-exempt employees, to suffer to work off the clock

without being paid the proper and lawful premium for all hours worked over

40 in each and every work week; c) willfully underpaid ISR even when

paying overtime wages by failing to include bonuses and commissions in the

regular rate and premium rates of payment of overtime wages; d) misleading

ISR about the FLSA and meal break requirements and pressuring ISR to

auto deduct 1 hour from their day for meal breaks even when ISR were

working through some or all meal breaks and regardless of this fact; and d)

misleading ISR for falsely claiming and representing that their off the clock

work as not compensable and permitted by the FLSA; and (e) creating and

maintaining a De Facto policy of ISR not working overtime hours on the

clock or under reporting actual work hours on their time sheets while

simultaneous encouraging overtime hours and discouraging reporting



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overtime hours.

      49.    The FLSA does not require employees to have to “claim” or

submit a claim for overtime hours as a condition for being paid for these

hours, especially where the Defendant knows, or should know, that

employees are working overtime hours.

      50.    Here, Defendant has maintained for many years the application

of a blind ignorance policy, and De Facto off the clock policy, and have

throughout the preceding 3 years of the filing of this Complaint and

currently as well, been well aware of their inside sales representatives,

including Plaintiff, routinely working overtime hours without being paid for

all hours worked.

      51.    Moreover, Defendant absolutely knows that even when it paid

overtime premiums, it willfully underpaid Harris and all other similarly

situated ISR by not including the values of commissions or bonus, including

the target cash incentive in the calculations and the rate paid.

      52.    All ISR in the Atlanta office worked on similar compensation

plans of annualized rate of pay and some percentage to goal incentive bonus

or commission plan.



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      53.   Plaintiff further engaged in basic customer service and typical

non-exempt work duties.

      54.   When hired, Harris like all other ISR was led to believe the

position was a non-exempt position salaried position, and that if he had to

work overtime hours to hit quotas, the time would be authorized and he

would be entitled to overtime premiums.

      55.   However, Harris came to realize that the company declared that

overtime hours had to be pre-approved and only when the company was

requesting ISR to work extra hours would it pay overtime hours.

      56.   Thus, Plaintiff worked for instance on a Saturday when the

company offered some premium for this overtime hours confirming to Harris

that he was non-exempt from overtime pay.

      57.   However, the De Facto policy and rule was that all other

overtime hours which were worked had to be off the clock and would be

unpaid, despite knowledge of NCR, by and through its managers and

supervisors, that Harris and ISR similarly situated routinely worked far more

than 8 hours of work per day and far more than 40 hours per week.

      58.   It was such a rare occurrence that the company offered overtime



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hours and overtime pay, that requesting pre-approval was never going to be

authorized and was an illusory and fictitious process.

      59.    More importantly though, it was made clear to Harris and other

ISR that he worked with that in order to maximize the commission or bonus

or incentive cash they could earn and meet sales or production goals or

quotas that the job required, more than 40 hours per week of work was

required.

      60.    It is also well known to NCR that only those sales

representatives who were working more than 40 hours, and many hours off

the clock were the ones who reached the sales goals, the maximum target

cash, and who were the most productive sales employees.

      61.    Thus, Harris and other ISR were left with the dilema and

between a rock and a hard place: either work the overtime hours off the

clock and without complaining or filing claims, or fall short of sales goals,

earn very small bonuses or commissions and risk being fired for lack of

production and lack of sales.

      62.    Throughout Plaintiff’s term of employment before going remote

when Covid hit on or about late March 2020, Harris routinely came in early,



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stayed late and worked most of the days without a 1 hour uninterrupted meal

break.

         63.   Management instructed Harris and other ISR to simply write in

and report their hours as no more than 8 per day such as 9:00 am to 5:00 pm,

or 8:30 to 4:30 pm., even when Harris and other ISR did not take a full 1

hour meal break or commenced work prior to this time or worked after this

time and more than 8 hours in a day and more than 40 hours in the week.

         64.   Most importantly, management and the company instructed ISR

to falsify time records, under report their hours while approving,

encouraging and permitting Harris and other ISR to work overtime hours off

the clock.

         65.   Plaintiff earned a bonus or commission, which was always for

him and all other ISR, a very small percentage of their overall income, and

thus were not retail exempt employees.         Regardless, the products and

services being sold were not retail.

         66.   Defendant led Plaintiff to believe that working more hours than

being reported and, thus working off the clock, was a lawful pay practice by

explaining that simply because it was not pre-approved the company did not



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have to pay for the overtime hours.

      67.   Harris and ISR were directly discouraged by NCR from

accurately reporting their actual work hours, including the overtime hours

worked.

      68.   Harris and ISR were simultaneously encouraged by NCR to

work as many hours as they could or wanted in order to meet sales goals,

and thus keep their jobs for want of production.

      69.   Defendant also discouraged Plaintiff and all other ISR from

complaining about not being paid for overtime hours worked and for not

being able to report and clock in all hours worked by telling them to focus

on earning their bonuses and cash incentives, production goals and to just be

thankful they had jobs.

      70.   Plaintiff, like other ISR, including SDR’s, was assigned to work

on a specific team and line of products and services, such as credit card

processing, or point of sale (POS) software and hardware.

      71.   Harris primarily handled outbound calls and solicitations using

emails, rather than inbound leads from businesses seeking NCR’s services.

      72.   Harris spent hours on weekends and evenings searching for



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leads and businesses to solicit, and doing research, as well as putting

information into salesforce.com.

      73.    Even when NCR did pay overtime wage, it willfully underpaid

the ISR, including Harris because NCR failed to include the commissions or

bonus earned in the rates of pay as required by the FLSA, and solely paid

time and one half of the base pay.

      74.    All inside sales representatives were paid pursuant to the same

common pay plan:       a base hourly rate quoted in annual sums to the

employees, and eligibility for monthly bonuses or commissions on a sliding

scale depending upon reaching the maximum target goal of 100%, and

decreasing as the producing met less than 100% of the goals, or alternative

with some multiplier based upon the production.

      75.    Plaintiff, like all ISR in the Atlanta office, was given a set

weekly corporate schedule of 45 hours per week, 9 hour days with

opportunity to take up to a 1 hour meal break.

      76.    Plaintiff routinely worked through much of his 1 hour meal

break, including working while eating at his desk, or taking a short break to

eat and continuing back to work.



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         77.   At no time did Defendant explain that working through all or

sum of this 1 hour automatically deducted meal break was compensable

overtime work hours and which should be reported and paid.

         78.   ISR were either instructed to input a 1 hour meal break for each

day or just put down a total shift which from start to end for the day was 8

hours.

         79.   Assuming like Harris all other ISR were paid on a salary basis,

then like Harris since NCR was not going to pay him overtime pay, there

was no real concern in attempting to accurately report break times or any

basis to do so, since the policy was no more than hours for the day and no

more than 40 hours for the week.

         80.   Plaintiff found it necessary to stay after the ending shift time

and start work earlier than the official start times, and put in this additional

overtime work hours to complete his job duties and communicate with

businesses in attempts to obtain sales.

         81.   Plaintiff similarly performed work on weekends using his

company laptop, answered and sent emails, and such work was not

foreclosed, prohibited or discouraged by Defendant.



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      82.    Moreover, management knew of and encouraged ISRs to

perform work outside the office or outside of business hours, to come in

early and start working and to stay as late as they needed. Doing so meant

you were a “go getter” and management encouraged people to be “go-

getters”

      83.    Plaintiff, and all other similarly situated employees are

currently now or have previously been covered under FLSA §207 as

employees.

      84.    Plaintiff routinely worked more than 40 hours in his

workweeks, with the knowledge of Defendant, and was never disciplined for

doing so, nor was he paid a premium for all such overtime hours worked.

THE PUTATIVE CLASS

      85.    Plaintiff bring this suit individually, and on behalf of all

similarly situated persons composed of the following Class or collective

similarly situated members:

PROPOSED PUTATIVE CLASS:

All person working as inside sales representatives (ISR) under the titles
of: Inside Sales Representative (I, II or III), Inside Sales Specialist (I, II,
III), Sales Development Representative (I,II or III), Account Manager,
Account Executive, Sales Manager, Channel Sales Manager or any
other job title used to describe persons whose primary job duty was

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inside sales, who are currently employed or were previously employed
with NCR CORP anywhere in the U.S. within the past three years
preceding the filing of this lawsuit through to the date of trial.

COLLECTIVE FACT ALLEGATIONS

      86.    At the time of this filing, numerous other members of the

putative class seek to join this action and demonstrate that there are others

similarly situated who seek to join and claim their overtime wages.

      87.    Plaintiff is able to protect and represent the Collective or

putative Class or classes, and are willing and able, and consents to doing so.

      88.    Plaintiff is a proper Class representative of all those similarly

situated as he was employed by Defendant under the titles of Sales

Development Representative (SDR), and Inside Sales Representative during

his employment, and because:        a) he solicited to sell NCR’s products,

software, hardware and services and including subscription services; b) he

was paid under the same common pay structure/plan applicable to all other

inside sales representatives: a base hourly rate, with monthly percentage to

goal commissions and treated as an hourly, non-exempt under the FLSA; c)

he routinely worked overtime without being paid a premium for the hours

worked, and d) is familiar with Defendant’s policies, procedures and



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unlawful pay practices.

      89.       Upon information and belief, Defendant employed 1000 or

more ISR at any given time working from their homes or hired from and

reporting to upwards of 36 offices throughout the United States, or whose

work was controlled from numerous offices and ultimately from the

Corporate office in Atlanta Georgia.

      90.       Upon information and belief, during the preceding 3 years all

ISR were subject to common unlawful pay practices, including suffering to

work off the clock and either instructed to under report their hours or

discouraged from reporting all their overtime hours under a company De

facto policy.

      91.       Defendants’ job offer letters to inside sales representatives also

demonstrate a common pay plan for inside sales reps: a base hourly pay, (or

a base pay stated as an annualized amount or salary). treatment as

non-exempt employees, and eligible for a bonus or commission plan stated

as a percentage to goal of incentive cash.

      92.       Similarly, all are inside sales representatives were placed in

groups, and assigned a supervisory sales manager to report to, and all inside



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sales representatives were expected and required to perform their job duties

and requirements according to the same national standards and uniform

policies and procedures set by the Defendant applicable to all inside sales

representatives, aside from any variances due to the specific products or

cloud services for the respective customer’s produced and services the ISR

were soliciting for.

      93.       All inside sales representatives within this class described

herein are now, and at all times within the preceding 3 years of the filing of

this complaint were treated as non-exempt employees and who were

assigned to work 9 hour work days, Monday to Friday, and thus 45 hour

work weeks.

      94.       Upon information and belief, whenever Plaintiff and all other

inside sales representatives worked prior to the scheduled shift time, stayed

after the shift time ended, or worked through any meal breaks, Defendant

monitored, tracked and was fully aware of all employees exceeding 40 work

hours, and even encouraged the additional work hours viewing such ISR as

“go-getters”.

      95.       The Defendant maintained a company-wide policy throughout



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the relevant 3 year class period of willfully refusing to pay overtime wages

or any premium pay for overtime hours worked for inside sales

representatives despite, clear knowledge inside sales representatives have

worked and continuing to work overtime hours, and as classified under the

FLSA, non-exempt employees automatically due such wages.

      96.   Upon information and belief, all inside sales representatives are

supervised by team leaders and other managers, who very closely monitor

performance, scrutinize sales representatives and their performance, metrics,

such as phone calls and production and report results to the corporate office

under a structured, corporate controlled manner, and all of whom had

knowledge of their teams working overtime hours.

      97.     Defendant maintained a De Facto off the clock policy

(although there technically was not a time clock system), in which inside

sales representatives were told to focus on their bonuses rather than any

overtime pay requirements of the FLSA, and placing them in fear of

discipline and termination if they ever dared to submit a claim for overtime

wages.

      98.   At no time during the relevant 3 year time period did Defendant



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formally discipline inside sales representatives, including Harris for working

off the clock overtime hours.


                         COUNT I
  FLSA VIOLATIONS OF FLSA §207 AND DECLARATORY ACTION
        PURSUANT TO 28 U.S.C. SECTIONS 2201 and 2202

      99.    Plaintiff alleges and incorporates by reference all preceding

paragraphs of this Complaint and fully restates and realleges all facts and

claims herein.

      100. Defendant has willfully and intentionally engaged in a common

company pattern and practice of violating the provisions of the FLSA, by

failing to compensate all inside sales representatives as required pursuant to

the FLSA’s overtime wage provision, Section 207.

      101. Plaintiff and the proposed class of similarly situated, comprised

of all current and former persons who worked for NCR as inside sales

representatives, were denied overtime compensation pursuant to FLSA §207

as required to be paid by Defendant for all hours worked over 40 in each and

every work week.

      102. Plaintiff and all those similarly situated are employees of

Defendant during their time as contemplated by 29 U.S.C. § 203.


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         103. Defendant does not, and cannot have a good faith basis for

failing to pay Plaintiff and the class of inside sales representatives overtime

pay, particularly here when they knew inside sales representatives were

working overtime and discouraged them from reporting their overtime

hours.

         104. Further, Defendants were aware and clearly knew Plaintiff and

the inside sales rep position was a non-exempt position, subject to the time

tracking requirements of the FLSA, and automatically required to pay any

non-exempt employee overtime premium when they knew or should have

known such employees worked any time over 40 hours in a work week.

         105. Plaintiff, and the class of similarly situated, are thus entitled to

an equal sum in overtime wages owed at rates of one and one half times their

regular rates of pay as liquidated damages. See Johnson v. Big Lots Stores,

Inc., 604 F.Supp.2d 903 at 925 (E.D. La. 2009).

         106. Defendants knowingly and willfully failed to accurately and

fully track the hours worked by Plaintiff and the class of similarly situated

employees in violation of the FLSA and 29 CFR Part 576.

         107. Defendant encouraged inside sales representatives to work as



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many hours as they could to meet or exceed sales goals as long as they did

not report more than 40 hours without prior approval, but meanwhile had

direct or constructive knowledge of inside sales representatives working

overtime hours and more hours than reported on their time sheets.

      108. The FLSA required NCR to pay the overtime wages when they

know employees “worked” over 40 hours in any work week, and does not

permit an employer to escape or nullify its overtime pay obligations by

placing the duty on the employee to formally submit the hours and make a

claim for overtime pay.

      109. Regardless, the entire company policies and procedures related

to work hours are oppressive, misleading and intended to discourage and

prevent inside sales representatives from ever making a request or claim for

overtime pay due to fear and intimidation of being terminated from

employment.

      110. Defendant made clear to the inside sales representatives that

they were not going to be paid overtime wages and that requesting such was

going to subject them to heightened scrutiny, discipline and potentially

termination of employment.



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         111. Defendant at all times material maintained a De Facto policy in

which ISR were instructed to falsify time records, underport hours worked,

and meanwhile encouraging and permitting ISR to suffer to work off the

clock.

         112. Defendant has failed to make, keep, and preserve accurate time

records with respect to each of its employees sufficient to determine their

wages, hours, and other conditions of employment in violation of the FLSA

29 USC 201 et. seq., including 29 USC Sec. 211(c) and 215 (a).

         113. Defendant knew and had reason to know, that overtime wages

are to be paid at one and one half times the employees’ regular rates of pay

to include all compensation earned but, as a means to save hundreds of

millions of dollars in labor costs, willfully chose to either misclassify the

inside sales rep position as exempt or simply chose to institute policies,

procedures and practices which both discouraged employees against making

a claim for overtime pay and by not themselves paying overtime wages

when they knew or should have known employees were working overtime

without being paid for all hours worked.

         114. Alternatively, even if Defendant paid Plaintiffs and the class of



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similarly situated on a salary basis, Defendant knew or should have known

that the act of paying Plaintiff and all inside sales representatives a salary

instead of hourly pay, that overtime premiums were still required to be paid

for all overtime hours NCR knew or should have known were worked by

ISR.

       115. Here, Plaintiff and the inside sales representatives are not

technically working “off the clock” as Defendants never had any time clock,

but, Defendant did maintain a De Facto unwritten policy which was that any

submission or claim for overtime would result in disciplinary action,

scrutiny and termination of employment, and that the employees were

expected to meet their quotas and goals regardless of the hours necessary or

they would be fired.

       116. Again, Defendant was well aware that in order to meet quotas

and goals, inside sales representatives would have to routinely or even

occasionally work overtime hours, and that the inside sales rep position was

simply not a 40 hour per week job.

       117. Upon information and belief, even when Defendant did pay

overtime wages, they willfully underpaid ISR by failing to include bonuses



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or commissions in the calculations and rates paid.

      118. To summarize, NCR has willfully and lacking in good faith,

violated the FLSA by the following unlawful pay practices applicable to

Plaintiffs and the class of similarly situated employees by: a) willfully

withholding payment of overtime wages when they knew or should have

known Plaintiff and the class of inside sales representatives actually worked

over 40 hours; b) misleading and falsely advising Plaintiff and other ISR

about meal breaks and the requirements under the FLSA; discouraging ISR

against reporting more than 40 hours; c) not properly tracking and recording

all work hours of inside sales representatives; and d) even when paying

overtime wages, willfully underpaid employees by failing to include the

value of bonuses or commissions earned in the regular rate and thus the

overtime rates of pay.

      119. As a result of NCR’s willful violations of the FLSA, Plaintiff

and the proposed putative class of similarly situated have suffered economic

damages by their willful failure to pay overtime compensation in accordance

with FLSA §207 and their created and maintained unlawful pay practices.

      120. Due to NCR’s’willful violations of the FLSA, a three-year



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statute of limitations applies to the FLSA violations pursuant to 29 U.S.C.

§255(a).

      121. As a result of NCR’s unlawful acts and pay practices,

complained of herein, Plaintiff and all other similarly situated present and

former employees working as inside sales representatives under various job

titles, have been deprived of overtime compensation in amounts to be

determined at trial; and are entitled to recovery of such amounts, liquidated

damages in amount equal to the overtime wages due, prejudgment interest,

attorneys' fees, costs and other compensation pursuant to 29 U.S.C. §216(b),

as well as injunctive relief pursuant to 29 U.S.C. §217.

      WHEREFORE, Plaintiff, individually, and on behalf of all other

similarly situated past and present inside sales representatives who worked

for Defendants in the 3 years preceding the filing of this complaint to the

present, seek the following the following relief:

      a.    Designation of this action as a collective action.

      b.    That Plaintiff be authorized to give notice of this collective
            action, or that this Court issue such notice at the earliest possible
            time; to all past and present inside sales representatives
            employed by NCR at any time during the three (3) year period
            immediately preceding the filing of this suit, through and
            including the date of this Court's issuance of the Court
            Supervised Notice for each respective class;

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 c.    Designate the Named Plaintiff as Representatives of the
       Collective Class for purposes of engaging in mediation, with the
       authority to execute any Collective Class settlement agreement
       the parties might reach, which is subject to Court’s approval
       before making any such agreement binding.

 d.    That all past and present inside sales representatives be
       informed of the nature of this collective action, and similarly
       situated employee's right to join this lawsuit if they believe that
       they were or are misclassified as an exempt employee;

 e.    That the Court find and declare Defendant in violation of the
       overtime compensation provisions of the FLSA;

 f.    That the Court find and declare Defendant’s violations of the
       FLSA were and are willful;

 g.    That the Court enjoin Defendant, Pursuant to 29 U.S.C. § 217,
       from withholding future payment of overtime compensation
       owed to members of the Plaintiff Class.

 h.    That the Court award to Plaintiff and the Plaintiff Class,
       comprised of all similarly situated employees, overtime
       compensation at a rate of one and one half time their regular
       rates of pay, including the value of all compensation earned, for
       previous hours worked in excess of forty (40) for any given
       week during the past three years AND liquidated damages of an
       equal amount of the overtime compensation, in addition to
       penalties and interest on said award pursuant to FLSA §216 and
       all other related economic losses;

 i.    That the Court award Plaintiff and all other persons who opt
       into this action, recovery of their reasonable attorneys' fees and
       costs and expenses of litigation pursuant to FLSA § 216,
       including expert fees;

 j.    That the Court award Plaintiff a Class Representative service fee

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             award for the justice they sought out for so many and their
             services in this case as representatives for the putative class and
             to their counsel;

     k.      That the Court issue in order of judgment under 29 U.S.C
             216-17, 28 U.S.C. 2201 and 2202 finding that the Defendant
             unlawfully and willfully violated the FLSA by failing to pay
             overtime wages and failing to properly and willfully failing to
             accurately record all hours worked of non-exempt employees, as
             well as issue an INJUNCTION barring the Defendant from
             further violating the FLSA;

     l.      That the Court Award Pre-judgment and post-judgment interest,
             as provided by law, and;

     m.      That the Court award any other legal and equitable relief as this
             Court may deem appropriate, including the value of underpaid
             matching funds in company pension or 401k plans.

                       DEMAND FOR JURY TRIAL

     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,

Plaintiffs demand a trial by jury on all questions of fact raised by this

Complaint.


      Dated: February 20, 2022.

                                           Respectfully submitted by:

                                        /s/MITCHELL L. FELDMAN, ESQ.
                                        GA State Bar#: 25779
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